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                               UNITED STATES JUDICIAL PANEL
                                            on
                                MULTIDISTRICT LITIGATION


IN RE: HARTFORD COVID-19 BUSINESS INTERRUPTION
PROTECTION INSURANCE LITIGATION                                                        MDL No. 2963


                                 ORDER DENYING TRANSFER


        Before the Panel:* At its July 2020 hearing session, the Panel considered two motions
seeking centralization of an industry-wide litigation involving claims for insurance coverage of
business interruption losses caused by the COVID-19 pandemic and the related government orders
suspending, or severely curtailing, operations of non-essential businesses. We denied the motions,
concluding that the differences among the many insurers would overwhelm any common factual
questions and hinder the transferee court’s ability to efficiently manage the litigation. See In re
COVID-19 Bus. Interruption Prot. Ins. Litig., MDL No. 2942, 2020 WL 4670700, __ F. Supp. 3d
__ (J.P.M.L. Aug. 12, 2020). In the briefing on those motions, several parties proposed that insurer-
specific MDLs be created. We concluded that we needed “a better understanding of the factual
commonalities and differences among these actions, as well as the efficiencies that may or may not
be gained through centralization, before creating an insurer-specific MDL.” Id. at *3. Therefore,
we ordered the Panel Clerk to issue orders directing the parties to certain actions involving a
common insurer or group of insurers to show cause why those actions should not be centralized.

        One of those orders encompassed the 66 actions listed on Schedule A,1 which involve claims
against the Hartford group of insurers. Since we issued this show cause order, the parties have
notified us of 77 related actions. Plaintiffs in 55 of these 143 actions support the creation of a
Hartford MDL. They variously suggest a number of potential transferee districts, including: the
District of Connecticut; the Southern District of Florida; the District of New Jersey; the Eastern
District of New York; the Western District of Pennsylvania; and the Western District of Washington.
Plaintiffs in five actions oppose centralization, several of which alternatively suggest the Northern
District of California, the District of Massachusetts, and the Eastern District of Missouri as potential
transferee districts. The Hartford defendants2 also oppose centralization and, in the alternative,


        *
            Judge David C. Norton took no part in the decision of this matter.
        1
            Two additional actions listed on the show cause order were voluntarily dismissed.
        2
           The Hartford defendants consist of The Hartford Financial Services Group, Inc., and fifteen
of its direct or indirect subsidiaries: Hartford Fire Insurance Company; Sentinel Insurance Company,
Ltd.; Hartford Casualty Insurance Company; Hartford Underwriters Insurance Company; Twin City
Fire Insurance Company; Trumbull Insurance Company; Property & Casualty Insurance Company
                                                                                         (continued...)
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suggest the Southern District of New York as the transferee district for this litigation. Additionally,
we received two briefs by amici curiae, one in support of and one in opposition to centralization.

        After considering the arguments of counsel,3 we conclude that centralization of the Hartford
actions will not serve the convenience of the parties and witnesses or further the just and efficient
conduct of this litigation. Centralization of these actions presents a close question. The insurance
policies at issue in the Hartford actions appear to use standard forms and will involve the
interpretation of common policy language, such as the phrase “direct physical loss or physical
damage to property.” To the extent discovery is necessary of Hartford regarding the drafting and
interpretation of its policies, such discovery will be common to all actions. Thus, these actions
present common legal and factual questions that could, in other circumstances, support
centralization.4

         Common factual questions, however, are not the sole prerequisite for centralization under
Section 1407. Centralization also must promote the just and efficient conduct of the actions. This
litigation demands efficiency. As counsel repeatedly emphasized in their papers and during oral
argument, time is of the essence in this litigation. Many plaintiffs are on the brink of bankruptcy
as a result of business lost due to the COVID-19 pandemic and the government closure orders. The
most pressing question for us, therefore, is whether centralization presents the most efficient means
of advancing these actions towards resolution.

        Efficiency here is best obtained outside the MDL context. If these actions were centralized,
the transferee court would have to establish a pretrial structure to manage numerous plaintiffs, many

        2
        (...continued)
of Hartford; Pacific Insurance Company, Ltd.; New England Insurance Company; New England
Reinsurance Corporation; Hartford Insurance Company of Illinois; Hartford Accident & Indemnity
Company; Hartford Insurance Company of the Midwest; Hartford Insurance Company of the
Southeast; and Hartford Lloyd’s Insurance Company.
        3
         In light of the concerns about the spread of COVID-19 virus (coronavirus), the Panel heard
oral argument by videoconference at its hearing session of September 24, 2020. See Suppl. Notice
of Hearing Session, MDL No. 2963 (J.P.M.L. Sept. 8, 2020), ECF No. 230.
        4
           Hartford argues that centralization is inappropriate for the handling of purely legal
questions, such as policy interpretation questions. It is true that common legal questions, standing
alone, are not sufficient to satisfy Section 1407’s requirement that there be common factual
questions. See In re ABA Law School Accreditation Litig., 325 F. Supp. 3d 1377, 1378–79 (J.P.M.L.
2018). Centralization may be appropriate even where legal questions are prominent, however, so
long as common factual issues are present. See In re Polar Bear Endangered Species Act Listing
& 4(d) Rule Litig., 588 F. Supp. 2d 1376, 1377(J.P.M.L. 2008) (“The Panel must determine the
extent of the common factual issues and the likelihood that centralized pretrial proceedings will
create important efficiencies, avoid inconsistent rulings, and result in the overall fairer adjudication
of the litigation for the benefit of all involved parties.”).
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                                                   -3-

of which are pursuing distinct theories of liability.5 The court also would have to identify common
policies with identical or sufficiently similar policy language and interpret those policies under
applicable state laws. The Hartford actions are pending in 36 different districts in 24 states and the
District of Columbia. It will take a not insignificant amount of time to organize this litigation and
resolve the central policy interpretation questions. In the meantime, dispositive motions addressing
these policy interpretation questions are pending in 37 of the 143 actions, at least ten of which are
fully briefed. Rather than have one judge attempt to organize and resolve the core policy
interpretation issues, it strikes us that allowing the various transferor courts to decide these questions
will result in quicker and more efficient resolution of this litigation.

         Furthermore, should plaintiffs’ claims survive dispositive rulings on the policy interpretation
questions,6 discovery appears relatively straightforward. While some of this discovery may well be
common (particularly any discovery directed to Hartford regarding the drafting and interpretation
of its policy language), much of it will be plaintiff- and property-specific. In these circumstances,
it is more likely the actions will reach an expeditious resolution if they remain in the transferor
courts. We impress upon the courts overseeing these actions the importance of advancing these
actions towards resolution as quickly as possible.

        Accordingly, centralization of the actions listed on Schedule A is not warranted. To the
extent necessary, alternatives to centralization are available to minimize any duplication in pretrial
proceedings, including informal cooperation and coordination among the parties and courts. We
also note that some similar actions are pending in the same district before multiple judges, and it
may be appropriate for the courts or the parties to seek to relate those before one judge.

      IT IS THEREFORE ORDERED that the order to show cause regarding the actions listed on
Schedule A is vacated.


        5
          For instance, some plaintiffs argue that the COVID-19 virus is present on and caused
damage to their properties. Others allege that they suffered damage as a result of state and local
governments’ orders restricting or closing businesses. And some plaintiffs allege unique theories
of coverage, such as the dental practices in the Levy and Taube actions, who assert that they closed
their practices not as a result of civil authority orders, but based on guidance from the Centers for
Disease Control and the American Dental Association. These distinct claims likely will require
different legal analysis and different discovery.
        6
         We take no position on the merits of these dispositive motions. See In re Kauffman Mut.
Fund Actions, 337 F. Supp. 1337, 1339–40 (J.P.M.L. 1972) (“The framers of Section 1407 did not
contemplate that the Panel would decide the merits of the actions before it and neither the statute
nor the implementing Rules of the Panel are drafted to allow for such determinations.”). To date,
there have been only two rulings on motions to dismiss in Hartford actions. See Wilson v. Hartford
Cas. Co., C.A. No. 2:20-03384, 2020 WL 5820800 (E.D. Pa. Sept. 30, 2020) (granting motion to
dismiss); Franklin EWC, Inc. v. Hartford Fin. Servs. Grp., Inc., C.A. No. 3:20-04434, 2020 WL
5642483 (N.D. Cal. Sept. 22, 2020) (granting motion to dismiss with leave to amend complaint).
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                   PANEL ON MULTIDISTRICT LITIGATION




                   __________________________________________
                                 Karen K. Caldwell
                                      Chair

                   Ellen Segal Huvelle     R. David Proctor
                   Catherine D. Perry      Nathaniel M. Gorton
                   Matthew F. Kennelly
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IN RE: HARTFORD COVID-19 BUSINESS INTERRUPTION
PROTECTION INSURANCE LITIGATION                                MDL No. 2963


                                  SCHEDULE A

                Northern District of Alabama

     PURE FITNESS LLC v. THE HARTFORD FINANCIAL SERVICES GROUP INC.,
          ET AL., C.A. No. 2:20–00775

                District of Arizona

     FORFEX LLC v. HARTFORD UNDERWRITERS INSURANCE COMPANY, ET AL.,
           C.A. No. 2:20–01068
     JDR ENTERPRISES LLC v. SENTINEL INSURANCE COMPANY LIMITED, ET
           AL., C.A. No. 4:20–00270

                Central District of California

     GERAGOS & GERAGOS ENGINE COMPANY NO. 28, LLC v. HARTFORD FIRE
          INSURANCE COMPANY, ET AL., C.A. No. 2:20–04647
     PATRICK AND GEOFF INVESTMENTS INC. v. THE HARTFORD, ET AL.,
          C.A. No. 2:20–05140
     ROUNDIN3RD SPORTS BAR LLC v. THE HARTFORD, ET AL.,
          C.A. No. 2:20–05159
     R3 HOSPITALITY GROUP, LLC v. THE HARTFORD, ET AL., C.A. No. 5:20–01182

                Northern District of California

     PROTÉGÉ RESTAURANT PARTNERS LLC v. SENTINEL INSURANCE
          COMPANY, LIMITED, C.A. No. 5:20–03674

                Southern District of California

     PIGMENT INC. v. THE HARTFORD FINANCIAL SERVICES GROUP, INC., ET AL.,
          C.A. No. 3:20–00794

                District of Connecticut

     LITTLE STARS CORPORATION v. HARTFORD UNDERWRITERS INS. CO.,
          ET AL., C.A. No. 3:20–00609
     CONSULTING ADVANTAGE INC. v. HARTFORD FIRE INSURANCE COMPANY,
          ET AL., C.A. No. 3:20–00610
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RENCANA LLC, ET AL. v. HARTFORD FINANCIAL SERVICES GROUP, INC.,
      ET AL., C.A. No. 3:20–00611
COSMETIC LASER, INC. v. TWIN CITY FIRE INSURANCE COMPANY,
      C.A. No. 3:20–00638
DR. JEFFREY MILTON, DDS, INC. v. HARTFORD CASUALTY INSURANCE
      COMPANY, C.A. No. 3:20–00640
ONE40 BEAUTY LOUNGE, LLC v. SENTINEL INS. CO., LTD., C.A. No. 3:20–00643
PATS v. HARTFORD FIRE INSURANCE COMPANY, ET AL., C.A. No. 3:20–00697
DOTEXAMDR PLLC v. HARTFORD FIRE INS. CO., ET AL., C.A. No. 3:20–00698
KENNEDY HODGES & ASSOCIATES LTD., LLP, ET AL. v. HARTFORD
      FINANCIAL SERVICES GROUP, INC., ET AL., C.A. No. 3:20–00852
LEAL, INC. v. HARTFORD FINANCIAL SERVICES GROUP, INC., ET AL.,
      C.A. No. 3:20–00917
SA HOSPITALITY GROUP, LLC, ET AL. v. HARTFORD FIRE INSURANCE
      COMPANY, C.A. No. 3:20–01033

            District of District of Columbia

GCDC LLC v. THE HARTFORD FINANCIAL SERVICES GROUP, INC., ET AL.,
     C.A. No. 1:20–01094

            Southern District of Florida

REINOL A. GONZALEZ, DMD, P.A. v. THE HARTFORD FINANCIAL SERVICES
     GROUP, INC., ET AL., C.A. No. 1:20–22151

            Northern District of Georgia

KARMEL DAVIS AND ASSOCIATES, ATTORNEY–AT–LAW, LLC v.
    THE HARTFORD FINANCIAL SERVICES GROUP, INC., ET AL.,
    C.A. No. 1:20–02181

            Southern District of Illinois

TAUBE v. HARTFORD FINANCIAL SERVICES GROUP, INC., ET AL.,
    C.A. No. 3:20–00565

            Eastern District of Louisiana

Q CLOTHIER NEW ORLEANS, LLC, ET AL. v. TWIN CITY FIRE INSURANCE
     COMPANY, ET AL., C.A. No. 2:20–01470
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           District of Massachusetts

RINNIGADE ART WORKS v. THE HARTFORD FINANCIAL SERVICES GROUP,
     INC., ET AL., C.A. No. 1:20–10867

           Southern District of Mississippi

THE KIRKLAND GROUP, INC. v. SENTINEL INSURANCE GROUP LTD.,
     C.A. No. 3:20–00496

           Eastern District of Missouri

ROBERT LEVY, D.M.D., LLC v. HARTFORD CASUALTY INSURANCE
    COMPANY, C.A. No. 4:20–00643

           District of New Jersey

AMBULATORY CARE CENTER, PA v. SENTINEL INSURANCE COMPANY,
     LIMITED, C.A. No. 1:20–05837
THE EYE CARE CENTER OF NEW JERSEY, PA v. THE HARTFORD FINANCIAL
     SERVICES GROUP INC., ET AL., C.A. No. 2:20–05743
LD GELATO LLC v. HARTFORD UNDERWRITERS INSURANCE CORPORATION,
     C.A. No. 2:20–06215
BACK2HEALTH CHIROPRACTIC CENTER, LLC v. THE HARTFORD FINANCIAL
     SERVICES GROUP, INC., ET AL., C.A. No. 2:20–06717
MARRAS 46 LLC v. TWIN CITY FIRE INSURANCE COMPANY,
     C.A. No. 2:20–08886
ADDIEGO FAMILY DENTAL, LLC v. HARTFORD FINANCIAL SERVICES
     GROUP, INC., ET AL., C.A. No. 3:20–05847
ADDIEGO ORTHODONTICS, LLC v. HARTFORD FINANCIAL SERVICES
     GROUP, INC., ET AL., C.A. No. 3:20–05882
SWEETBERRY HOLDINGS LLC v. THE HARTFORD FINANCIAL SERVICES
     GROUP, INC., ET AL., C.A. No. 3:20–08200
BLUSHARK DIGITAL, LLC v. THE HARTFORD FINANCIAL SERVICES GROUP,
     INC., ET AL., C.A. No. 3:20–08210

           Eastern District of New York

METROPOLITAN DENTAL ARTS P.C. v. THE HARTFORD FINANCIAL
     SERVICES GROUP, INC., ET AL., C.A. No. 1:20–02443
BRAIN FREEZE BEVERAGE, LLC v. THE HARTFORD FINANCIAL SERVICES
     GROUP, INC., ET AL., C.A. No. 2:20–02157
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           Southern District of New York

SHARDE HARVEY DDS PLLC v. THE HARTFORD FINANCIAL SERVICES
     GROUP INC., ET AL., C.A. No. 1:20–03350
FOOD FOR THOUGHT CATERERS, CORP. v. THE HARTFORD FINANCIAL
     SERVICES GROUP, INC., ET AL., C.A. No. 1:20–03418
RED APPLE DENTAL PC v. THE HARTFORD FINANCIAL SERVICES GROUP,
     INC., ET AL., C.A. No. 7:20–03549

           Western District of New York

BUFFALO XEROGRAPHIX INC. v. SENTINEL INSURANCE COMPANY,
     LIMITED, ET AL., C.A. No. 1:20–00520
SALVATORE’S ITALIAN GARDENS, INC., ET AL. v. HARTFORD FIRE
     INSURANCE COMPANY, C.A. No. 1:20–00659

           Northern District of Ohio

SYSTEM OPTICS, INC. v. TWIN CITY FIRE INSURANCE COMPANY, ET AL.,
     C.A. No. 5:20–01072

           Eastern District of Pennsylvania

LANSDALE 329 PROP, LLC, ET AL. v. HARTFORD UNDERWRITERS
      INSURANCE COMPANY, ET AL., C.A. No. 2:20–02034
SIDKOFF, PINCUS & GREEN PC v. SENTINEL INSURANCE COMPANY,
      LIMITED, C.A. No. 2:20–02083
HAIR STUDIO 1208, LLC v. HARTFORD UNDERWRITERS INSURANCE CO.,
      C.A. No. 2:20–02171
ULTIMATE HEARING SOLUTIONS II, LLC, ET AL. v. HARTFORD
      UNDERWRITERS INSURANCE COMPANY, ET AL., C.A. No. 2:20–02401
MOODY, ET AL. v. THE HARTFORD FINANCIAL SERVICES GROUP INC.,
      ET AL., C.A. No. 2:20–02856
SEYMON BOKMAN v. SENTINEL INSURANCE COMPANY, LIMITED,
      C.A. No. 2:20–02887

           District of South Carolina

COFFEY & MCKENZIE LLC v. TWIN CITY FIRE INSURANCE COMPANY,
     C.A. No. 2:20–01671
BLACK MAGIC LLC v. THE HARTFORD FINANCIAL SERVICES GROUP INC.,
     ET AL., C.A. No. 2:20–01743
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FANCY THAT! BISTRO & CATERING LLC v. SENTINEL INSURANCE
    COMPANY LIMITED, ET AL., C.A. No. 3:20–02382

           Eastern District of Texas

RISINGER HOLDINGS, LLC, ET AL. v. SENTINEL INSURANCE COMPANY,
      LTD., ET AL., C.A. No. 1:20–00176
BOOZER-LINDSEY, PA, LLC v. SENTINEL INSURANCE COMPANY, LTD.,
      C.A. No. 6:20–00235

           Northern District of Texas

GRAILEYS INC. v. SENTINEL INSURANCE COMPANY LTD.,C.A. No. 3:20–01181

           Western District of Texas

INDEPENDENCE BARBERSHOP, LLC v. TWIN CITY FIRE INSURANCE CO.,
     C.A. No. 1:20–00555

           District of Utah

WILLIAM W. SIMPSON ENTERPRISES v. THE HARTFORD FINANCIAL
     SERVICES GROUP, C.A. No. 4:20–00075

           Eastern District of Virginia

ADORN BARBER & BEAUTY LLC v. TWIN CITY FIRE INSURANCE COMPANY,
    C.A. No. 3:20–00418

           Western District of Washington

CHORAK v. HARTFORD CASUALTY INSURANCE COMPANY,
       C.A. No. 2:20–00627
KIM v. SENTINEL INSURANCE COMPANY LIMITED, C.A. No. 2:20–00657
GLOW MEDISPA LLC v. SENTINEL INSURANCE COMPANY LIMITED,
       C.A. No. 2:20–00712
STRELOW v. HARTFORD CASUALTY INSURANCE COMPANY,
       C.A. No. 2:20–00797
PRATO v. SENTINEL INSURANCE COMPANY LIMITED, C.A. No. 3:20–05402
LEE v. SENTINEL INSURANCE COMPANY LIMITED, C.A. No. 3:20–05422
